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March 15, 2019

VIA ECF

Honorable Judith C McCarthy
United States District Court
Southern District of New York
300 Quarropas St.
White Plains, NY 10601-4150


Re:    Berger v. Imagina Consulting, 1:18-cv-08956 (CS-JCM)


Dear Judge McCarthy:

         We represent Plaintiff Jason Berger in the above-captioned case and write in response to
Defendant’s letter, dated March 14, 2019. Plaintiff has no objection to a brief adjournment of
the settlement conference scheduled for March 20. The parties are in the process of exchanging
responsive documents.



                                                     Respectfully Submitted,

                                                     /richardliebowitz/
                                                     Richard Liebowitz

                                                     Counsel for Plaintiff Jason Berger
